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                                                                                    FILED
                                                                                    FEB 2 4 2015
                       IN THE UNITED STATES DISTRICT COURT                         g~VIDJ~RK
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI                        ·             epufY



UNITED STATES OF AMERICA


v.                                                         CRIMINAL CASE NO. 3:16CR DZ.l


TERRY KELLY a.k.a "TK"                                     18 U.S.C. § 922(g)(l)
                                                           18 U.S.C. § 924(e)(l)


                                         INDICTMENT

       The Grand Jury charges that:
                                         COUNT ONE

       On or about January 27, 2016, in the Northern District of Mississippi, TERRY KELLY,

defendant, having previously been convicted in a court of certain felonies, that is, a crime

punishable by imprisonment for a term exceeding one year, including, but not limited to the

following felonies as defined in 18 U.S.C. 924(e)(2)(B):

       1.     Shooting into an Occupied Dwelling, Cause No. CR99-074, Circuit Court of

              Alcorn County, Mississippi, committed on August 10, 1998, and convicted on or

              about February 13, 2003;

       2.     Burglary, Cause No. UK-2003-198, Circuit Court of Union County, Mississippi,

              committed on September 21, 2003, and convicted on or about March 5, 2004;

       3.     Burglary of a Dwelling, Cause No. 399-07, Circuit Court of Lauderdale County,

              Mississippi, committed on April 10, 2007, and convicted on or about February

               19, 2008;

did knowingly possess in and affecting interstate commerce, a firearm, namely, a Russian

(Mosin-Nagant), Model: 91/30, 7.62x54 caliber rifle, SIN: RMN091276, and a Marlin, Model:
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25MN, .22 caliber, bolt action rifle, SIN: 08617073 in violation of Title 18, United States Code,

Sections 922(g)(l) and 924(e)(l).



                                                    A TRUE BILL:



                                                    Is/Signature Redacted
                                                    FOREPERSON
